             Case 2:89-cr-00150-EJG-PAN Document 454 Filed 08/14/08 Page 1 of 2


P R O B 35             ORDER TERMINATING SUPERVISED RELEASE
                             PRIOR TO EXPIRATION DATE


                             UNITED STATES DISTRICT COURT
                                       FOR THE
                            EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                          )
                                                  )
                             vs.                  )     Docket Number: 2:89CR00150-01
                                                  )
ROGER ROLAND DUNN                                 )
                                                  )



On February 26, 1990, the above-named was placed on supervised release for a period of
5 years which commenced November 26, 2004. He has complied with the rules and
regulations of supervision. It is accordingly recommended that he be discharged from
supervision.

                                    Respectfully submitted,

                                /s/ Kyriacos M. Simonidis (for)

                                   CYNTHIA J. MAZZEI
                           Senior United States Probation Officer

Dated:           August 11, 2008
                 Sacramento, California
                 CJM:jz


REVIEWED BY:           /s/ Kyriacos M. Simonidis
                       KYRIACOS M. SIMONIDIS
                       Supervising United States Probation Officer




                                                                               R ev. 03/2005
                                                                              P R O B 35.M R G
        Case 2:89-cr-00150-EJG-PAN Document 454 Filed 08/14/08 Page 2 of 2


Re:   ROGER ROLAND DUNN
      Docket Number: 2:89CR00150-01
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that Roger Roland Dunn be discharged from supervised release, and that the
proceedings in the case be terminated.

August 13, 2008                         /s/ Edward J. Garcia
Date                                    EDWARD J. GARCIA
                                        Senior United States District Judge


Attachment:   Recommendation

cc:   United States Attorney's Office
      FLU Unit, AUSA's Office
      Fiscal Clerk, Clerk's Office




                                                                                R ev. 03/2005
                                                                               P R O B 35.M R G
